Case 09-61855-bem         Doc 211    Filed 03/24/21 Entered 03/24/21 12:35:35          Desc Main
                                    Document      Page 1 of 4



                             UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION


 IN RE:                                          )           CASE NO. 09-61855-BEM
                                                 )
 TODD ANTHONY SHAW,                              )           CHAPTER 7
                                                 )
          Debtor.                                )
                                                 )


              TRUSTEE’S MOTION FOR AUTHORITY TO PAY ADMINISTRATIVE
                          EXPENSES OF CHAPTER 7 ESTATE

          COMES NOW S. Gregory Hays, as Chapter 7 Trustee (“Trustee”) for the bankruptcy

 estate of Todd Anthony Shaw (“Debtor”), by and through undersigned counsel, and files

 Trustee’s Motion for Authority to Pay Administrative Expenses of Chapter 7 Estate (the

 “Motion”). In support of his Motion, Trustee shows as follows:

                                      Jurisdiction and Venue

                                                  1.

          This Court has jurisdiction over this Motion pursuant to 28 U.S.C. §§ 157 and 1334. This

 Motion presents a core proceeding within the meaning of 28 U.S.C. § 157(b)(2). Venue is proper

 before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                             Background Facts and Relief Requested

                                                  2.

          On January 26, 2009 (the “Petition Date”), Debtor filed a voluntary petition for relief

 under Chapter 7 of Title 11 of the United States Code. Trustee was thereafter appointed the

 Chapter 7 trustee for Debtor’s bankruptcy estate.




 16354029v1
Case 09-61855-bem        Doc 211    Filed 03/24/21 Entered 03/24/21 12:35:35            Desc Main
                                   Document      Page 2 of 4



                                                 3.

        At the commencement of the Bankruptcy Case, a bankruptcy estate was created pursuant

to 11 U.S.C. § 541(a) (the “Bankruptcy Estate”), and that Bankruptcy Estate includes all

Debtor’s legal or equitable interests in property as of the commencement of the bankruptcy case

and any interest in property that the estate acquires after commencement of the bankruptcy case.

11 U.S.C. § 541(a)(1) and (7) (2017). Trustee is the sole representative of the Bankruptcy Estate.

11 U.S.C. § 323(a) (2017).

                                                 4.

        Debtor filed this bankruptcy case as a no-asset case. [Doc. No. 1 at Page 1].

                                                 5.

        Nevertheless, through the efforts of Trustee and his professionals, Trustee has recovered

over $1,138,000.00 for the benefit of the Bankruptcy Estate from, among other things, certain

music royalties to which Debtor, and thus the Bankruptcy Estate, is entitled.

                                                 6.

        As a result of the music royalties paid to the estate during calendar year 2020, the

Bankruptcy Estate has incurred 2020 income tax expenses owed to the Internal Revenue Service

in the amount of $89,589.00 and to the Georgia Department of Revenue in the amount of

$18,980.00. Following prior orders of the Court, Trustee paid the Internal Revenue Service

estimated payments of $88,533.00 and the Georgia Department of Revenue estimated payments

of $18,600.00. As a result, the Bankruptcy Estate owes the Internal Revenue Service $1,056.00

and the Georgia Department of Revenue $380.00.

                                                 7.

        There are sufficient funds in the Bankruptcy Estate with which to make the foregoing

payments, and such payments are proper administrative expenses of the Bankruptcy Estate.


16354029v1
Case 09-61855-bem       Doc 211     Filed 03/24/21 Entered 03/24/21 12:35:35       Desc Main
                                   Document      Page 3 of 4



        WHEREFORE, Trustee requests that the Court grant this Motion and authorize Trustee to

pay the above-described administrative expense claims.


        Respectfully submitted this _24th day of March, 2021.

                                             ARNALL GOLDEN GREGORY LLP
                                             Attorneys for Chapter 7 Trustee

                                             By:/s/ Michael J. Bargar
171 17th Street, NW, Suite 2100                 Michael J. Bargar
Atlanta, Georgia 30363                          Georgia Bar No. 645709
Phone: (404) 873-8500                           michael.bargar@agg.com




16354029v1
Case 09-61855-bem        Doc 211      Filed 03/24/21 Entered 03/24/21 12:35:35           Desc Main
                                     Document      Page 4 of 4



                                 CERTIFICATE OF SERVICE

         This is to certify that I have this day served true and correct copies of the foregoing
 Trustee’s Motion for Authority to Pay Administrative Expenses of Chapter 7 Estate by delivering
 copies of the same via United States first class mail, postage prepaid, to the following persons or
 entities at the addresses stated:

 Office of the U.S. Trustee                               Todd Anthony Shaw
 362 Richard B. Russell Federal Building                  1010 Forest Overlook Drive
 75 Ted Turner Drive, SW                                  Atlanta, GA 30331
 Atlanta, GA 30303
                                                          Montie Day
 S. Gregory Hays                                          Day Law Offices
 Hays Financial Consulting, LLC                           P.O. Box 1525
 Suite 555                                                Williams, CA 95987
 2964 Peachtree Road NW
 Atlanta, GA 30305-2153

 Richard M. Jones, Jr.
 Law Office of Richard Jones, P.C.
 P. O. Box 371031
 Decatur, GA 30037
         This 24th day of March, 2021.

                                                             /s/ Michael J. Bargar
                                                             Michael J. Bargar
                                                             Georgia Bar No. 645709




 16354029v1
